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                               United States District Court
                      Eastern District of Pennsylvania (Philadelphia)
                    CIVIL DOCKET FOR CASE #: 2:19-cv-05946-RBS


AC2T, INC. v. PURRINGTON                                      Date Filed: 12/17/2019
Assigned to: HONORABLE R. BARCLAY SURRICK                     Jury Demand: Both
Cause: 28:1332 Diversity-Libel,Assault,Slander                Nature of Suit: 320 P.I.: Assault Libel &
                                                              Slander
                                                              Jurisdiction: Diversity
Plaintiff
AC2T, INC.                                     represented by EVAN LOUIS FRANK
doing business as                                             ALAN L. FRANK LAW ASSOCIATES,
SPARTAN MOSQUITO                                              PC.
                                                              135 OLD YORK ROAD
                                                              JENKINTOWN, PA 19046
                                                              215-935-1000
                                                              Fax: 215-935-1110
                                                              Email: efrank@alflaw.net
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                              ALAN L. FRANK
                                                              ALAN L. FRANK LAW ASSOCIATES PC
                                                              135 OLD YORK RD
                                                              JENKINTOWN, PA 19046
                                                              215-935-1000
                                                              Fax: 215-935-1110
                                                              Email: afrank@alflaw.net
                                                              ATTORNEY TO BE NOTICED


V.
Defendant
COLIN PURRINGTON                               represented by PAIGE M. WILLAN
                                                              KLEHR HARRISON HARVEY
                                                              BRANZBURG LLP
                                                              1835 MARKET ST STE 1400
                                                              PHILADELPHIA, PA 19103
                                                              215-569-4283
                                                              Email: pwillan@klehr.com
                                                              TERMINATED: 04/20/2021
                                                              LEAD ATTORNEY

                                                              TREVOR C. SERINE
                                                              SERINE LAW
                                         "R"                  30 WEST THIRD ST.
     Case 1:22-mc-03696-HG-PK Document 13-18 Filed 09/28/22 Page 2 of 7 PageID #: 346
                                                     MEDIA, PA 19063
                                                     484-448-6426
                                                     Fax: 610-892-7412
                                                     Email: TCS@serinelaw.com
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED
Counter Claimant
COLIN PURRINGTON                                represented by PAIGE M. WILLAN
                                                               (See above for address)
                                                               TERMINATED: 04/20/2021
                                                               LEAD ATTORNEY

                                                               TREVOR C. SERINE
                                                               (See above for address)
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED


V.
Counter Defendant
AC2T, INC.                                      represented by EVAN LOUIS FRANK
                                                               (See above for address)
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                               ALAN L. FRANK
                                                               (See above for address)
                                                               ATTORNEY TO BE NOTICED


Date Filed    #     Docket Text
12/17/2019     1 COMPLAINT against COLIN PURRINGTON ( Filing fee $ 400 receipt number
                 PPE208459.), filed by AC2T, INC..(bw, ) (Entered: 12/18/2019)
12/17/2019          DEMAND for Trial by Jury by AC2T, INC.. (bw, ) (Entered: 12/18/2019)
12/17/2019     2 Disclosure Statement Form pursuant to FRCP 7.1 by AC2T, INC..(bw, ) (Entered:
                 12/18/2019)
12/17/2019          1 Summons Issued as to COLIN PURRINGTON. Forwarded To: COUNSEL on
                    12/18/2019 (bw, ) (Entered: 12/18/2019)
02/12/2020     3 MOTION Motion for Alternative Service re Summons Issued, 1 Complaint, Jury Demand,
                 2 Disclosure Statement Form 7.1 filed by AC2T, INC... (Attachments: # 1 Text of
                 Proposed Order, # 2 Exhibit A, # 3 Exhibit B)(FRANK, EVAN) (Entered: 02/12/2020)
02/12/2020     4 ORDER GRANTING 3 MOTION FOR ALTERNATIVE SERVICE AS OUTLINED
                 HEREIN. SIGNED BY HONORABLE R. BARCLAY SURRICK ON 02/12/20. 02/12/20
                 ENTERED AND COPIES E-MAILED. (dmd) (Entered: 02/12/2020)
03/09/2020     5 AFFIDAVIT of Service by Richard Scollon, Jr. re: served Complaint and Summons by
                 Posted to Premises per Court Order on March 4, 2020 (FRANK, ALAN) (Entered:
                 03/09/2020)
     Case 1:22-mc-03696-HG-PK Document 13-18 Filed 09/28/22 Page 3 of 7 PageID #: 347
03/25/2020     6 MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM filed by COLIN
                  PURRINGTON.Brief, Certificate of Service. (Attachments: # 1 Text of Proposed Order, #
                  2 Brief)(WILLAN, PAIGE) (Entered: 03/25/2020)
04/07/2020      7 RESPONSE to Motion re 6 MOTION TO DISMISS FOR FAILURE TO STATE A
                  CLAIM filed by AC2T, INC.. (Attachments: # 1 Certificate of Service)(FRANK, EVAN)
                  (Entered: 04/07/2020)
04/14/2020      8 MOTION for Leave to File Reply Brief in Further Support of Motion to Dismiss filed by
                  COLIN PURRINGTON.Certificate of Service. (Attachments: # 1 Text of Proposed Order)
                  (WILLAN, PAIGE) (Entered: 04/14/2020)
04/15/2020      9 NOTICE of Appearance by ALAN L. FRANK on behalf of AC2T, INC. with Certificate
                  of Service (Attachments: # 1 Certificate of Service). (FILED IN ERROR BY
                  ATTORNEY; CASE NUMBER INCORRECT).(FRANK, ALAN) Modified on 4/16/2020
                  (fb). (Entered: 04/15/2020)
04/27/2020     10 STATUS REPORT Joint Status Report by AC2T, INC.. (FRANK, EVAN) (Entered:
                  04/27/2020)
04/28/2020     11 ORDER GRANTING 8 MOTION FOR LEAVE TO FILE REPLY BRIEF. REPLY BRIEF
                  ATTACHED AS EXHIBIT A IS DEEMED FILED THIS DATE. SIGNED BY
                  HONORABLE R. BARCLAY SURRICK ON 04/28/20. 04/28/20 ENTERED AND
                  COPIES E-MAILED. dmd,) (Entered: 04/28/2020)
10/22/2020     12 MEMORANDUM AND/OR OPINION. SIGNED BY HONORABLE R. BARCLAY
                  SURRICK ON 10/22/20. 10/22/20 ENTERED AND COPIES E-MAILED.(mbh, )
                  (Entered: 10/22/2020)
10/22/2020     13 ORDER THAT DEFENDANT'S MOTION TO DISMISS IS GRANTED IN PART AND
                  DENIED IN PART. SIGNED BY HONORABLE R. BARCLAY SURRICK ON 10/22/20.
                  10/22/20 ENTERED AND COPIES E-MAILED.(mbh, ) (Entered: 10/22/2020)
11/04/2020     14 STIPULATION AND ORDER THAT THE TIME FOR DEFENDANT TO ANSWER
                  PLAINTIFF'S COMPLAINT SHALL BE EXTENDED UP TO AND INCLUDING
                  11/19/2020. SIGNED BY HONORABLE R. BARCLAY SURRICK ON 11/4/20. 11/4/20
                  ENTERED AND COPIES E-MAILED.(mbh, ). (Entered: 11/04/2020)
11/12/2020     15 AMENDED COMPLAINT against COLIN PURRINGTON, filed by AC2T, INC..
                  (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, #
                  6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K)
                  (FRANK, EVAN) (Entered: 11/12/2020)
11/25/2020     16 MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM filed by COLIN
                  PURRINGTON.Memorandum of Law, Certificate of Service. (Attachments: # 1 Brief, # 2
                  Text of Proposed Order)(WILLAN, PAIGE) (Entered: 11/25/2020)
11/25/2020     17 MOTION to Compel Responses to Document Requests and Interrogatories filed by
                  COLIN PURRINGTON.Memorandum of Law, Certificate of Service. (Attachments: # 1
                  Brief, # 2 Exhibit Exhibits 1-7 to Memorandum of Law in Support of Motion to Compel, #
                  3 Text of Proposed Order)(WILLAN, PAIGE) (Entered: 11/25/2020)
12/09/2020     18 RESPONSE in Opposition re 16 MOTION TO DISMISS FOR FAILURE TO STATE A
                  CLAIM filed by AC2T, INC.. (Attachments: # 1 Certificate of Service Certificate of
                  Service)(FRANK, EVAN) (Entered: 12/09/2020)
12/09/2020     19 RESPONSE in Opposition re 17 MOTION to Compel Responses to Document Requests
                  and Interrogatories filed by AC2T, INC.. (Attachments: # 1 Certificate of Service
                  Certificate of Service)(FRANK, EVAN) (Entered: 12/09/2020)
    Case 1:22-mc-03696-HG-PK Document 13-18 Filed 09/28/22 Page 4 of 7 PageID #: 348
04/20/2021   20 NOTICE of Appearance by TREVOR C. SERINE on behalf of COLIN PURRINGTON
                with Certificate of Service(SERINE, TREVOR) (Entered: 04/20/2021)
04/20/2021   21 NOTICE of Withdrawal of Appearance by PAIGE M. WILLAN on behalf of COLIN
                PURRINGTON(WILLAN, PAIGE) (Entered: 04/20/2021)
05/10/2021   22 MEMORANDUM AND/OR OPINION. SIGNED BY HONORABLE R. BARCLAY
                SURRICK ON 5/10/21. 5/10/21 ENTERED AND COPIES E-MAILED.(mbh, ) (Entered:
                05/10/2021)
05/10/2021   23 ORDER THAT DEFENDANT'S MOTION TO DISMISS COUNT II OF THE
                AMENDED COMPLAINT IS DENIED. SIGNED BY HONORABLE R. BARCLAY
                SURRICK ON 5/10/21. 5/10/21 ENTERED AND COPIES E-MAILED.(mbh, ) (Entered:
                05/10/2021)
05/26/2021   24 STIPULATION AND ORDER THAT THE TIME PERIOD TO FILE AN ANSWER IN
                RESPONSE TO THE AMENDED COMPLAINT FOR A PERIOD OF 30 DAYS FROM
                THE DATE OF THIS STIPULATION AND ORDER. SIGNED BY HONORABLE R.
                BARCLAY SURRICK ON 5/25/21. 5/26/21 ENTERED AND COPIES E-MAILED.(mbh,
                ) (Entered: 05/26/2021)
06/24/2021   25 ANSWER to 15 Amended Complaint, , First COUNTERCLAIM against AC2T, INC. by
                COLIN PURRINGTON. (Attachments: # 1 Certificate of Service Answer with New
                Matter and Counterclaim)(SERINE, TREVOR) (Entered: 06/24/2021)
07/09/2021   26 STIPULATION AND ORDER THAT THE DATE FOR PLFF TO ANSWER DEFT'S
                COUNTERCLAIM IS EXTENDED FROM 7/14/2021 TO 7/28/2021. SIGNED BY
                HONORABLE R. BARCLAY SURRICK ON 7/9/21. 7/9/21 ENTERED AND COPIES
                E-MAILED.(kw, ) (Entered: 07/09/2021)
07/28/2021   27 MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM filed by AC2T,
                INC..Brief, Certificate of Service. (Attachments: # 1 Certificate of Service, # 2 Text of
                Proposed Order)(FRANK, EVAN) (Entered: 07/28/2021)
08/16/2021   28 RESPONSE in Opposition re 27 MOTION TO DISMISS FOR FAILURE TO STATE A
                CLAIM filed by COLIN PURRINGTON. (Attachments: # 1 Text of Proposed Order, # 2
                Certificate of Service)(SERINE, TREVOR) (Entered: 08/16/2021)
09/22/2021   29 ORDER THAT PLAITIFF'S MOTION TO DISMISS COUNTERCLAIM FOR ABUSE
                OF PROCESS IS GRANTED. SIGNED BY HONORABLE R. BARCLAY SURRICK
                ON 9/22/21.9/22/21 ENTERED AND COPIES E-MAILED.(mbh, ) (Entered: 09/22/2021)
09/24/2021   30 ORDER THAT DEFENDANT'S MOTION TO COMPEL IS GRANTED IN PART AND
                DENIED IN PART. SIGNED BY HONORABLE R. BARCLAY SURRICK ON
                9/24/21.9/24/21 ENTERED AND COPIES E-MAILED.(mbh, ) (Entered: 09/24/2021)
10/05/2021   31 First MOTION for Sanctions of Plaintiff and Plaintiff's Counsel filed by COLIN
                PURRINGTON.Certificate of Counsel and Service. (Attachments: # 1 Exhibit a - d, # 2
                Text of Proposed Order proposed sanctions)(SERINE, TREVOR) (Entered: 10/05/2021)
10/05/2021   32 RESPONSE in Opposition re 31 First MOTION for Sanctions of Plaintiff and Plaintiff's
                Counsel filed by AC2T, INC.. (Attachments: # 1 Certificate of Service, # 2 Text of
                Proposed Order, # 3 Exhibit A, # 4 Exhibit B, # 5 Exhibit C, # 6 Exhibit D, # 7 Exhibit E)
                (FRANK, EVAN) (Entered: 10/05/2021)
10/05/2021   33 ORDER THAT PLAINTIFF AC2T, INC. RESPOND TO DEFENDANT'S MOTION FOR
                SACTIONS WITHIN TEN DAYS OF THE DATE OF THIS ORDER. SIGNED BY
                HONORABLE R. BARCLAY SURRICK ON 10/5/21. 10/6/21 ENTERED AND COPIES
                E-MAILED.(mbh, ) (Entered: 10/06/2021)
    Case 1:22-mc-03696-HG-PK Document 13-18 Filed 09/28/22 Page 5 of 7 PageID #: 349
10/22/2021   34 MOTION for Order governing exchange of confidential documents in discovery filed by
                AC2T, INC..Memorandum, Certificate of Service. (Attachments: # 1 Text of Proposed
                Order, # 2 Certificate of Service)(FRANK, EVAN) (Entered: 10/22/2021)
11/04/2021   35 RESPONSE in Opposition re 34 MOTION for Order governing exchange of confidential
                documents in discovery filed by COLIN PURRINGTON. (Attachments: # 1 Certificate of
                Service)(SERINE, TREVOR) (Entered: 11/04/2021)
01/14/2022   36 ORDER THAT UPON CONSIDERATION OF THE DEFENDANT'S MOTION FOR
                SANCTIONS 31 , AND PLAINTIFF'S RESPONSE THERETO 32 , IT IS ORDERED
                THAT THE MOTION IS DENIED. SIGNED BY HONORABLE R. BARCLAY
                SURRICK ON 1/14/2022.1/14/2022 ENTERED AND COPIES E-MAILED.(ti) (Entered:
                01/14/2022)
01/14/2022   37 ORDER THAT UPON CONSIDERATION OF PLAINTIFF'S MOTION FOR ORDER
                GOVERNING EXCHANGE OF CONFIDENTIAL DOCUMENTS AND
                INFORMATION IN DISCOVERY 34 AND DEFENDANT'S RESPONSE THERETO 35
                , IT IS ORDERED THAT THE MOTION IS GRANTED, ETC. SIGNED BY
                HONORABLE R. BARCLAY SURRICK ON 1/14/2022.1/14/2022 ENTERED AND
                COPIES E-MAILED.(ti) (Entered: 01/14/2022)
02/22/2022   38 First MOTION for Hearing for Immunity pursuant to 27 Pa. C.S. 8301 et seq. filed by
                COLIN PURRINGTON.Motion. (Attachments: # 1 Certificate of Service, # 2 Text of
                Proposed Order)(SERINE, TREVOR) (Entered: 02/22/2022)
03/07/2022   39 ORDER THAT A TELEPHONE CONFERENCE IS SCHEUDLED FOR 3/8/2022 AT
                1:30 PM. SIGNED BY HONORABLE R. BARCLAY SURRICK ON 3/7/22. 3/7/22
                ENTERED AND COPIES E-MAILED.(ti) (Entered: 03/07/2022)
03/08/2022   40 AMENDED ORDER THAT THE TELEPHONE CONFERENCE IS RESCHEDULED
                FOR 3/9/2022, AT 1:30 PM. SIGNED BY HONORABLE R. BARCLAY SURRICK ON
                3/8/22. 3/8/22 ENTERED AND COPIES E-MAILED.(ti) Modified on 3/8/2022 (ti).
                (Entered: 03/08/2022)
03/08/2022   41 RESPONSE in Opposition re 38 First MOTION for Hearing for Immunity pursuant to 27
                Pa. C.S. 8301 et seq. filed by AC2T, INC.. (Attachments: # 1 Certificate of Service)
                (FRANK, EVAN) (Entered: 03/08/2022)
03/09/2022   43 ORDER THAT ALL DISCOVERY MOTIONS SHALL BE FILED ON OR BEFORE
                3/19/22. A SECOND DISCOVERY CONFERENCE WILL BE HELD UPON THE
                JOINT REQUEST OF COUNSEL. SIGNED BY HONORABLE R. BARCLAY
                SURRICK ON 3/9/22. 3/10/22 ENTERED AND COPIES E-MAILED.(mbh) (Entered:
                03/10/2022)
03/10/2022   42 Minute Entry for proceedings held before HONORABLE R. BARCLAY SURRICK
                Telephone Conference held on 3/9/22 (JL) (Entered: 03/10/2022)
03/21/2022   44 MOTION for Discovery Motion to Compel Defendant's Deposition; Motion to Compel
                Defendant to Produce Documents filed by AC2T, INC..Memorandum, Certification of
                Counsel. (Attachments: # 1 Exhibit A - Deposition notice 8-18-21, # 2 Exhibit B -
                Document requests 1-22-21, # 3 Exhibit C - Deposition notice 4-6-21, # 4 Exhibit D -
                Emails 6-10 6-15 and 6-23-21, # 5 Exhibit E - Email 8-16-21, # 6 Exhibit F - Letter to
                Court 8-24-21, # 7 Exhibit G - Email 10-1-21, # 8 Certificate of Service, # 9 Text of
                Proposed Order)(FRANK, EVAN) (Entered: 03/21/2022)
03/21/2022   45 Second MOTION for Sanctions and for preclusion and dismissal with prejudice filed by
                COLIN PURRINGTON.Certificate of Counsel and Service. (Attachments: # 1 Text of
                Proposed Order, # 2 Exhibit A)(SERINE, TREVOR) (Entered: 03/21/2022)
    Case 1:22-mc-03696-HG-PK Document 13-18 Filed 09/28/22 Page 6 of 7 PageID #: 350
03/29/2022   46 RESPONSE in Opposition re 45 Second MOTION for Sanctions and for preclusion and
                dismissal with prejudice filed by AC2T, INC.. (Attachments: # 1 Text of Proposed Order, #
                2 Certificate of Service)(FRANK, EVAN) (Entered: 03/29/2022)
03/31/2022   47 RESPONSE in Opposition re 44 MOTION for Discovery Motion to Compel Defendant's
                Deposition; Motion to Compel Defendant to Produce Documents filed by COLIN
                PURRINGTON. (Attachments: # 1 Text of Proposed Order for denial)(SERINE,
                TREVOR) (Entered: 03/31/2022)
04/01/2022   48 REPLY to Response to Motion re 45 Second MOTION for Sanctions and for preclusion
                and dismissal with prejudice filed by COLIN PURRINGTON. (SERINE, TREVOR)
                (Entered: 04/01/2022)
04/22/2022   49 MOTION to Seal Document 46 Response in Opposition to Motion filed by AC2T,
                INC..Certificate of Service. (Attachments: # 1 Text of Proposed Order, # 2 Certificate of
                Service)(FRANK, EVAN) (Entered: 04/22/2022)
05/09/2022   50 REPLY to Response to Motion re 38 First MOTION for Hearing for Immunity pursuant to
                27 Pa. C.S. 8301 et seq. filed by COLIN PURRINGTON. (SERINE, TREVOR) (Entered:
                05/09/2022)
05/17/2022   51 RESPONSE in Opposition re 49 MOTION to Seal Document 46 Response in Opposition
                to Motion filed by COLIN PURRINGTON. (SERINE, TREVOR) (Entered: 05/17/2022)
06/10/2022   52 MOTION to Enter a Scheduling Order; Direct Defendant to Appear for Deposition and
                Produce Documents filed by AC2T, INC..Brief, Certificate of Service. (Attachments: # 1
                Certificate of Service, # 2 Text of Proposed Order)(FRANK, EVAN) (Entered:
                06/10/2022)
07/28/2022   53 ORDER THAT A HEARING ON MOTIONS (ECF NOS. 44, 45, 49 AND 52) IS
                SCHEDULED FOR 8/17/22 AT 1:00 PM IN COURTROOM 8A. SIGNED BY
                HONORABLE R. BARCLAY SURRICK ON 7/28/22]. 7/28/22 ENTERED AND
                COPIES E-MAILED. (mbh) (Entered: 07/28/2022)
08/17/2022   54 Minute Entry for proceedings held before HONORABLE R. BARCLAY SURRICK in
                Courtroom 8-A. Motion Hearing held on 8/17/22. Court Reporter: ESR. (mbh) (Entered:
                08/17/2022)
08/19/2022   55 ORDERED THAT: 1. PLAINTIFFS MOTION TO COMPEL DEFENDANTS
                DEPOSITION; MOTION TO COMPEL DEFENDANT TO PRODUCE DOCUMENTS
                (ECF NO. 44) IS GRANTED. A. IT IS ORDERED THAT DEFENDANT BE DEPOSED
                WITHIN 20 DAYS OF THE DATE OF ENTRY OF THIS ORDER. B. IT IS ORDERED
                THAT DEFENDANT PROVIDE THE DOCUMENTS REQUESTED IN THE SECOND
                SET OF REQUESTS FOR DOCUMENT PRODUCTIONS. IF DEFENDANT ASSERTS
                THAT HE HAS PREVIOUSLY PROVIDED THE REQUESTED INFORMATION, HE
                MUST CLEARLY STATE WHAT RESPONSIVE INFORMATION HAS BEEN
                PROVIDED AND PROVIDE BATES NUMBERS TO DIRECT PLAINTIFF WHERE TO
                FIND THAT INFORMATION. 2. DEFENDANTS MOTIONS FOR SANCTIONS AND
                PRECLUSION (ECF NO. 45) IS DENIED. IT IS ORDERED THAT DEFENDANT FILE
                A MOTION WITH THE COURT IF HE DETERMINES THAT DOCUMENTS HAVE
                NOT BEEN PRODUCED THAT DEFENDANT KNOWS EXIST. 3. PLAINTIFFS
                MOTION TO FILE EXHIBITS UNDER SEAL (ECF NO. 49) IS DENIED AS MOOT. 4.
                PLAINTIFFS MOTION TO ENTER A SCHEDULING ORDER (ECF NO. 52) IS
                GRANTED. THE COURT WILL ENTER A SCHEDULING ORDER IN THE NEXT 30
                DAYS AFTER CONFERRING WITH THE PARTIES.. SIGNED BY HONORABLE R.
                BARCLAY SURRICK ON 8/19/2022.8/19/2022 ENTERED AND COPIES E-MAILED.
                (sg) (Entered: 08/19/2022)
     Case 1:22-mc-03696-HG-PK Document 13-18 Filed 09/28/22 Page 7 of 7 PageID #: 351
09/16/2022    56 SCHEDULING ORDER: A SETTLEMENT CONFERENCE WITH AN ASSIGNED
                  MAGISTRATE JUDGE WILL BE SCHEDULED AT THE REQUEST OF COUNSEL.
                  ALL FACT DISCOVERY SHALL BE COMPLETED NO LATER THAN 12/16/23.
                  DISPOSITIVE MOTIONS SHALL BE FILED BY 2/16/23. MOTIONS IN LIMINE
                  SHALL BE FILED BY 5/22/23. A FINAL PRETRIAL CONFERENCE WILL BE HELD
                  ON 6/15/23 AT 2:00 PM IN CHAMBERS. TRIAL IS SCHEDULED FOR 6/19/23 AT
                  9:30 AM IN COURTROOM 8-A SIGNED BY HONORABLE R. BARCLAY SURRICK
                  ON 9/16/22. 9/16/22 ENTERED AND COPIES E-MAILED.(mbh) (Entered: 09/19/2022)



                                         PACER Service Center
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